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                        UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF NEW YORK
 __________________________________________
                                                   )
 MARTÍN JONATHAN BATALLA VIDAL,                    )
 ANTONIO ALARCÓN, ELIANA FERNANDEZ, )
 CARLOS VARGAS, CAROLINA FUNG FENG, )
 M.B.F., by her next friend LUCIA FELIZ,           )
 XIMENA ZAMORA, SONIA MOLINA                       ) Case No. 1:16-cv-04756 (NGG)(VMS)
 and JOHANA LARIOS SAINZ,                          )
                                                   ) April 25, 2022
         On behalf of themselves and all other     )
         similarly situated individuals,           )
                                                   )
 and MAKE THE ROAD NEW YORK,                       )
                                                   )
         On behalf of itself, its members, and its )
         clients,                                  )
                                                   )
         Plaintiffs,                               )
                                                   )
         v.                                        )
                                                   )
 ALEJANDRO MAYORKAS, in his official               )
 capacity as Secretary of Homeland Security,       )
 et al.,                                           )
                                                   )
                                                   )
         Defendants.                               )
 __________________________________________)



              PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                        MOTION FOR MODIFICATION




                                                    ORAL ARGUMENT REQUESTED
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    I.      INTRODUCTION

         Nearly ten years after the creation of the Deferred Action for Childhood Arrivals (DACA)

 program, the United States retains its substantial obligation to America’s immigrant youth. In its

 December 2020 order, this Court reaffirmed those obligations, reopening DACA for the first time

 in three years and paving the way for tens of thousands of class members to seek work, pursue

 education, and remain in the country they have called home since childhood. In the following

 months, and in reliance on that order, class members like Plaintiff Johana Larios Sainz—a New

 Yorker who was raised and resides in Staten Island—compiled applications, paid filing fees, and

 allowed the government to capture their biometrics. Defendants implemented this Court’s order

 slowly. Just as the United States Citizenship and Immigration Services (USCIS) started issuing

 decisions more quickly, a Texas court in July 2021 vacated the DACA memorandum.

         Misapprehending the interaction between the Texas II order and the order previously issued

 by this Court, the government suspended its processing of first-time DACA applications, cancelled

 scheduled biometrics appointments, and in some cases, withdrew grants of DACA that had already

 been issued. As a result, more than 80,000 first-time applicants (First-Time Applicants) hang in

 limbo. These are applicants like Ms. Larios Sainz, who submitted her application within days of

 this Court’s December 2020 order and has waited 16 months for a decision.

         In fact, this Court ordered USCIS to “accept” new DACA applications, and the Texas II

 order forbids USCIS from “granting” DACA to new applicants. Neither Court has addressed,

 however, what is to happen to applications between the time that USCIS “accepts” them and the

 time that USCIS makes a final decision whether to “grant.” On this motion, Plaintiffs request that

 the Court modify its prior remedial order to direct Defendants to fashion interim relief for First-

 Time Applicants like Ms. Larios Sainz, and in addition, that Defendants process her application




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 and that of other First-Time Applicants up to the point of decision, when the Texas II order forbids

 Defendants from finally granting or denying the application.

          Further, USCIS is wrongfully relying on the Texas II order to treat renewal applications as

 first-time applications where the applicant’s DACA expired more than one year prior (Extended

 Renewal Applicants). First-Time Applicants and Extended Renewal Applicants (collectively,

 Pending Applicants) are languishing at USCIS, with foreseeable delays of many more months as

 the Texas II order proceeds through appeals to the Fifth Circuit and, likely, the Supreme Court.

          This Court has the power to order Defendants to (1) craft interim relief, (2) process First-

 Time Applicants to the point of decision, and (3) adjudicate Extended Renewal Applicants without

 conflicting with the Texas II order. This Court’s prior order, equitable authority, and ongoing

 jurisdiction over the nationwide Batalla Vidal class action all authorize it to afford this additional

 relief to the Pending Applicants.

    II.      STATEMENT OF FACTS

             A. THIS COURT’S DECEMBER 2020 ORDER

          On December 4, 2020, this Court ordered Defendants to accept first-time requests for

 DACA, renewal requests, and advance parole requests, based on the terms of the 2012 DACA

 program. ECF No. 354 at 4. The Court ordered Defendants to post notice that USCIS was

 “accepting first-time requests for consideration of deferred action under DACA,” id., but did not

 elaborate on the meaning of “accepting” and “consideration.”

          Following this Court’s order, Defendants began accepting, processing, and adjudicating

 first-time DACA requests to final decisions. As of July 21, 2021, USCIS had received over 94,000




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 first-time DACA applications and had approved nearly 8,000.1

              B. THE TEXAS II ORDER

          On July 16, 2021, a judge of the Southern District of Texas entered a nationwide injunction

 directing the government to halt adjudication of both first-time DACA applications and DACA

 renewals. Texas v. United States, No. 1:18-cv-00068, 2021 WL 3022434, at *3-4 (S.D. Tex. July

 16, 2021) (Texas II). The Texas II order permanently enjoins Defendants from “administering the

 DACA program and from implementing DACA without compliance with the [Administrative

 Procedure Act (APA)].” Id., at *4. However, the court partially stayed its order to permit the

 government to renew DACA for recipients who obtained DACA on or before the date of the order.

 Id. Moreover, with regard to first-time applications, the Texas II order specifies that the

 Department of Homeland Security (DHS) “may continue to accept applications as it has been

 ordered to do by [this Court’s December 2020 order, ECF 354], but it may not grant these

 applications until a further order of this Court, the Fifth Circuit Court of Appeals, or the United

 States Supreme Court.” Texas II, 2021 WL 3022434, at *4 (emphasis added).2

          Defendants went much further, however, and ceased processing biometrics or taking any

 other intermediate steps leading up to final adjudication—with the exception of cashing and

 keeping class members’ $495 money orders.3 Plaintiffs understand Defendants’ intermediate steps


 1
   Number of Form I 821D, Consideration of Deferred Action for Childhood Arrivals Requests by Intake and Case
 Status,     Current     Fiscal     Year    by    Quarter,    USCIS        (Oct.     1,  2020-Sept.      30,    2021),
 https://www.uscis.gov/sites/default/files/document/data/DACA_performancedata_fy2021_qtr4.pdf              [hereinafter
 USCIS Initial DACA Statistics, Oct. 2020-Sept. 2021].
 2
   The government appealed the Texas II order to the United States Court of Appeals for the Fifth Circuit. See Texas v.
 United States, No. 21-40680, ECF 00516017367 (5th Cir. Sept. 16, 2021) (Notice of Appeal).
 Briefing was completed on March 30, 2022, and oral argument has yet to be set as of April 25, 2022.
 3
   See, e.g., Consideration of Deferred Action for Childhood Arrivals (DACA), Frequently Asked Questions, Initials,
 USCIS at No. 14 (last updated on Aug. 31, 2021), https://www.uscis.gov/humanitarian/consideration-of-deferred-
 action-for-childhood-arrivals-daca/frequently-asked-questions (“I filed an initial DACA request and am scheduled for
 a biometrics appointment after July 16, 2021. What should I do?” [A:] “As a result of the [Texas II] order, all
 biometrics appointments for initial DACA requestors have been cancelled.”); id. at No. 15 (“Will USCIS issue me a
 refund if I have filed an initial DACA request?” [A:] “At this time, USCIS is not issuing refunds for pending initial
 DACA requests that remain on hold while the court order is in effect.”).


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 to include depositing the filing fee; sending notice of receipt of application to the applicant;

 scheduling biometrics; capturing biometrics; processing biometrics by pulling data from federal

 and state law enforcement and other databases; upon completion of biometrics, evaluating the

 applicant’s criminal history, if any; assessing eligibility for DACA and work authorization

 according to the 2012 DACA Memo; assessing whether both DACA and work authorization are

 authorized for a given case; and engaging in an individualized and holistic review of the

 application. Finally, after these intermediate steps, the agency issues an adjudication of “grant” or

 “deny” for DACA and work authorization as an exercise of agency discretion. Other than

 collecting fees, USCIS has halted its processing of the pending first-time DACA applications of

 approximately 80,000 class members who filed between December 4, 2020 and July 16, 2021. No

 provision of the Texas II order prevents Defendants from taking these intermediate steps.

        Several Batalla Vidal class members, despite each submitting applications for DACA soon

 after this Court’s December 2020 order, experienced inconsistent treatment of those applications,

 based on whether USCIS had already captured their biometrics. Plaintiff Johana Larios Sainz, a

 New York resident, is among those pending First-Time Applicants awaiting further processing.

 She filed her first-time DACA application on December 9, 2020—just five days after this Court’s

 prior order—and had biometrics scheduled for and taken on May 27, 2021, nearly six months later.

 Exh. A, DACA Application Documents, Johana Larios Sainz. Because of the delay in capturing

 her biometrics, her application remains pending. Plaintiff M.B.F., on the other hand, filed a first-

 time DACA application on December 14, 2020. Exh. B, DACA Documents, M.B.F. Because she

 had already completed biometrics by that time, in support of another application for status, USCIS

 notified her on December 17, 2020, that it would re-use her completed biometrics in considering

 her DACA application. Id. With her application materials in place, M.B.F. was granted DACA on




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  May 5, 2021, before the issuance of the Texas II order. Id. Had USCIS scheduled Ms. Larios Sainz

  and other class members for biometrics earlier, or completed them in a separate process, they might

  have received grants of DACA before the window elapsed.

                 C. USCIS POLICY AND PROCEDURES

                      1. USCIS’s Ramp-Up Period for Processing First-Time DACA Applications

             Public statistics regarding USCIS’s processing of first-time DACA applications between

  December 2020 and July 2021 show that USCIS had an approximately four-month-long “ramp-up

  period” before the agency began issuing a high volume of first-time DACA adjudications. As

  shown in the below table, in the first four months after this Court’s December 2020 order, over

  50,000 first-time DACA applications were received, but only 1,663 were adjudicated (i.e., granted

  or denied). In the following four months, however, approximately 41,000 first-time applications

  were received and 7,483 were adjudicated. During the ramp-up period, USCIS deposited

  applicants’ filing fees, captured biometrics, processed biometrics, determined eligibility and

  exercised discretion in making final adjudications.

  Table: First-Time DACA Applications Received, Approved, Denied, and Pending4

      Time Period                 Total First-Time DACA Approved               Denied   Remained
                                  Requests Received                                     Pending
      Oct. 1, 2020 –              3,274                 400                    301      6,640
      Dec. 31, 2020
      Jan. 1, 2021 –              49,892                          763          169      55,564
      Mar. 31, 2021
      Apr. 1, 2021 –              33,255                          4,605        511      83,653
      June 30, 2021
      July 1, 2021 –              8,063                           2,226        141      89,336
      Sept. 30, 2021

             These statistics further demonstrate that USCIS has the ability to meaningfully process, but

  not adjudicate to final decision, first-time DACA applications. Completing these ramp-up


  4
      See supra note 1, USCIS Initial DACA Statistics, Oct. 2020-Sept. 2021.


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  procedures in advance could prepare the agency to swiftly adjudicate pending first-time

  applications should DACA be reopened for these applicants in the future.

                   2. USCIS Treats Certain DACA Renewals as First-Time Requests Barred by
                      Texas II

          USCIS has chosen to treat certain DACA renewal requests as first-time DACA requests,

  which the agency claims it is “prohibited from approving” while the Texas II “order remains in

  effect.”5 Specifically, if class members submit a DACA renewal request more than one year after

  their current DACA expired, USCIS treats them like First-Time Applicants,6 even though the

  Texas II order itself allows renewals by “DACA recipients who obtained that status on or before

  the date of this injunction and DACA renewal applications for these existing recipients (regardless

  of when the renewal applications are submitted)[.]” Texas II, 2021 WL 3022434, at *2 (emphasis

  added). USCIS has not explained why it cannot treat these Extended Renewal Applicants’

  applications as renewals and adjudicate them, as allowed by the Texas II order.

          Prior to the Texas II order, USCIS had been accepting and adjudicating DACA requests

  from applicants whose DACA expired more than one year ago and from applicants that had their

  DACA previously terminated.7 There is nothing in the Texas II order that directed USCIS to

  change this long-standing practice.




  5
    Consideration of Deferred Action for Childhood Arrivals (DACA), Frequently Asked Questions, Initials, USCIS at
  No. 21 (last updated on Aug. 31, 2021), https://www.uscis.gov/humanitarian/consideration-of-deferred-action-for-
  childhood-arrivals-daca/frequently-asked-questions.
  6
    Id.
  7
    Deferred Action for Childhood Arrivals: Response to January 2018 Preliminary Injunction (archived), USCIS (last
  updated on Aug. 24, 2021), https://www.uscis.gov/archive/deferred-action-for-childhood-arrivals-response-to-
  january-2018-preliminary-injunction.


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              D. DACA-RELATED FEDERAL LEGISLATION AND REGULATIONS

                   1. Congress Has Failed to Act

          For over twenty years, Congress has failed to pass any legislation aimed at providing a

  permanent solution and pathway to citizenship for immigrant youth, including the Dream Act and

  the Dream and Promise Act. In the past year, while Congress has made serious attempts to include

  immigration provisions that would provide permanent relief for Batalla Vidal class members

  through the budget reconciliation process, that process has stalled, and the inclusion of any

  immigration provisions in future legislation remains highly uncertain.8 Advocates continue to urge

  Congress to pass a permanent solution, but class members cannot wait for congressional action

  that remains unlikely and has proven elusive.

                   2. The Proposed DACA Rule’s Uncertain Timeline

          On September 28, 2021, DHS published a proposed rule that would codify the DACA

  program in federal regulations. Deferred Action for Childhood Arrivals, 86 Fed. Reg. 53736 (Sept.

  28, 2021). At the April 4, 2022 pre-motion conference before this Court, counsel for Defendants

  could not provide a timeline for the publishing of the final rule, only stating that DHS was still in

  the process of considering over 16,000 comments submitted through November 2021. Exh. C,

  Transcript of Pre-Motion Conference (Excerpt) at 18:12-19:8, Batalla Vidal v. Mayorkas, No. 16-

  cv-4756 (E.D.N.Y. Apr. 4, 2022).

          Even if the final rule were published in the next several months and Defendants interpreted

  that rule as allowing them to further process and adjudicate DACA for First-Time Applicants,

  including granting DACA when appropriate, it would almost certainly be subject to legal




  8
   See Emily Cochrane & Luke Broadwater, Biden Concedes Social Policy Bill is Stalled as Immigration Plan Falters,
  N.Y. TIMES (Dec. 16, 2021), https://www.nytimes.com/2021/12/16/us/politics/biden-immigration-build-back-
  better.html.


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  challenge. See Pls.’ Mot. Summ. J., Texas v. United States, No. 18-cv-00068, ECF 486 at 34-45

  (S.D. Tex. Oct. 9, 2020) (arguing that DACA is substantively invalid because it lacks statutory

  authorization and violates the Constitution); Texas v. United States, 549 F. Supp. 3d 572, 603-21

  (S.D. Tex. 2021) (concluding that DACA violates the substantive provisions of the APA).

               E. CLASS MEMBERS STUCK IN LIMBO

            The Texas II order and Defendants’ erroneous interpretation of its interaction with this

  Court’s orders have significantly changed the factual conditions for First-Time Applicants who

  filed DACA applications after this Court’s December 2020 order but before the Texas II order, as

  well as for Extended Renewal Applicants whose DACA expired more than one year ago. To date,

  Defendants have not provided interim relief for class members like Plaintiff Johana Larios Sainz,

  who has waited 16 months for a decision on her application and must wait many more pending the

  Texas II appeals. Given the continuing uncertainty surrounding the DACA program, these class

  members are once again stuck in limbo. This harm is likely to continue for months or even years

  if this Court does not modify or clarify its order to direct Defendants to provide relief that is

  permitted by both this Court’s order and the Texas II order.

     III.      LEGAL STANDARD

            This Court has inherent power to modify an injunction it has entered. See United States v.

  Swift & Co., 286 U.S. 106, 114 (1932) (“We are not doubtful of the power of a court of equity to

  modify an injunction in adaptation to changed conditions . . . .”). The Second Circuit has long

  recognized the broad power of an issuing court to modify its injunctions, including in “cases where

  a better appreciation of the facts in light of experience indicates that the decree is not properly

  adapted to accomplishing its purposes.” King-Seeley Thermos Co. v. Aladdin Indus., Inc., 418 F.2d

  31, 35 (2d Cir. 1969) (Friendly, J.). Federal Rule of Civil Procedure 60(b)(6) provides an additional

  basis for this power, allowing for modification of orders “for any other reason that justifies relief.”


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            This Court also has the inherent power to clarify its prior order, as it acknowledged when

  it “reserve[d] the right to impose further remedies if they become necessary” and “retain[ed]

  jurisdiction of the matter for purposes of construction, modification, and enforcement of this

  Order.” ECF 354 at 5-6; see also Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S.

  821, 831 (1994) (“Courts independently must be vested with power to impose . . . submission to

  their lawful mandates”) (internal quotation marks omitted); Fed. R. Civ. P. 60(a) (authorizing

  courts to clarify prior orders).

      IV.      ARGUMENT

               A. THIS COURT HAS AUTHORITY TO MODIFY ITS REMEDIAL ORDER

            In December 2020, this Court ordered DHS to “accept” new DACA applications, ECF 354

  at 2, 4, and in July 2021 the Texas II court ordered DHS to cease “grant[ing]” new applications,

  Texas II, 2021 WL 3022434, at *4. In the space between “accepting” and “granting,” this Court

  has well-established authority under its equitable powers and Rule 60 to modify or clarify its

  December 2020 order so as to vindicate the rights of Plaintiff Johana Larios Sainz and other First-

  Time Applicants, as well as to order Defendants to treat Extended Renewal Applicants’

  applications as DACA renewals and adjudicate them. Moreover, with foresight, this Court

  expressly retained jurisdiction to adjust its remedial order, as Plaintiffs now request. See ECF 354

  at 5 (“reserv[ing] the right to impose further remedies if they become necessary”).

            District courts have broad equitable authority and significant discretion to fashion

  appropriate remedies that redress harms. See Conn. Off. Prot. & Advoc. for Persons with

  Disabilities v. Hartford Bd. Educ., 464 F.3d 229, 245 (2d Cir. 2006). This authority is especially

  expansive when a court has already determined that rights have been violated. Brown v. Plata, 563

  U.S. 493, 538 (2011) (“Courts have substantial flexibility when making these judgments. Once

  invoked, ‘the scope of a district court’s equitable powers . . . is broad, for breadth and flexibility


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  are inherent in equitable remedies.’”) (quoting Hutto v. Finney, 437 U.S. 678, 687 (1978)).9

  Accordingly, a district court may modify a judgment or issue additional relief to protect or

  effectuate a prior judgment, particularly where—as here—the court has expressly retained

  jurisdiction “for purposes of construction, modification, and enforcement.” ECF 354 at 6.

           This Court’s broad equitable powers are also reflected in Rule 60(b)(6), which allows for

  modification of orders for “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(6). This

  provision is “a grand reservoir of equitable power to do justice in a particular case.” Rose v. Maggio

  Corp., No. 13-CV-2649 (NGG), 2013 WL 5774862, at *2 (E.D.N.Y. Oct. 24, 2013) (quoting

  Stevens v. Miller, 676 F.3d 62, 67 (2d Cir. 2012)); see also Klapprott v. U.S., 335 U.S. 601, 609

  (1949) (noting the broader power available to federal courts to modify judgments under amended

  Rule 60(b)); Matter of Emergency Beacon Corp., 666 F.2d 754, 760 (2d Cir. 1981) (explaining

  that a district court’s discretion is especially broad when relief is sought under subsection (b)(6));

  Bakery Mach. & Fabrication, Inc. v. Traditional Baking, Inc., 570 F.3d 845, 848 (7th Cir. 2009)

  (noting district courts’ great latitude in making Rule 60(b) ruling because that decision “is

  discretion piled on discretion”).10

           Subsection (b)(6) reflects fundamental principles of equity that inform considerations of

  whether to modify prior orders. See, e.g., Bros. Inc. v. W.E. Grace Mfg. Co., 320 F.2d 594, 608



  9
    This is especially true when a court has ordered prospective relief. Swift, 286 U.S. at 114 (“A continuing decree of
  injunction directed to events to come is subject always to adaptation as events may shape the need.”); see also Wright
  & Miller, 11A Fed. Prac. & Proc. Civ. § 2961 (3d ed. 2021) (“Inasmuch as an injunctive decree is drafted in light of
  what the court believes will be the future course of events, a court must continually be willing to redraft the order at
  the request of the party who obtained equitable relief in order to ensure that the decree accomplishes its intended
  result.”).
  10
     Although the text of Rule 60(b) refers to relief from a judgment, the Supreme Court made clear in United States v.
  United Shoe Machinery that district courts may modify an order at the request of plaintiffs. 391 U.S. 244, 251-52
  (1968); see also Exxon Corp. v. Texas Motor Exch. of Houston, Inc., 628 F.2d 500, 503 (5th Cir. 1980) (“United Shoe
  Machinery indicates that an injunction may be modified to impose more stringent requirements on the defendant when
  the original purposes of the injunction are not being fulfilled in any material respect.”) (quoting Wright & Miller, 11A
  Fed. Prac. & Proc. Civ. § 2961 (1973)); Sizzler Fam. Steak Houses v. W. Sizzlin Steak House, Inc., 793 F.2d 1529,
  1539 (11th Cir. 1986) (same).


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  (5th Cir. 1963) (the catch-all provision in subsection (b) permits modification of an order on “those

  grounds which equity has long recognized as a basis for relief”); Shoshone-Bannock Tribes of Fort

  Hall Rsrv. v. Leavitt, 408 F. Supp. 2d 1073, 1080 (D. Or. 2005) (explaining that a motion premised

  on Rule 60(b)(6) “untethers the discretion of judges from the constraints of common law remedies

  and grants broad remedial power” to modify a judgment).

           Revision of an injunction is often justified by a change in “circumstances, whether of law

  or fact,” because “an injunction often requires continuing supervision by the issuing court and

  always a continuing willingness to apply its powers and processes on behalf of the party who

  obtained that equitable relief.” Sys. Fed’n No. 91 v. Wright, 364 U.S. 642, 647 (1961); see also

  Freeman v. Pitts, 503 U.S. 467, 487 (1992) (“The essence of a court’s equity power lies in its

  inherent capacity to adjust remedies in a feasible and practical way.”).11 The Texas II order, and

  its interaction with this Court’s order, is one such changed circumstance.

           As a court of equity and pursuant to Rule 60(b)(6), this Court is empowered to fashion

  particularized relief that responds to the specific needs of class members over which it retains

  jurisdiction. It should exercise that power to modify the December 2020 order and provide the

  additional relief Plaintiffs request.12




  11
      The Second Circuit has held that modification may also be proper “where a better appreciation of the facts in light
  of experience indicates that the decree is not properly adapted to accomplishing its purposes.” E.g., King-Seeley
  Thermos Co., 418 F.2d at 35; Berger v. Heckler, 771 F.2d 1556, 1569 (2d Cir. 1985) (“Ensuring compliance with a
  prior order is an equitable goal which a court is empowered to pursue even absent a finding of contempt.”).
  12
     The All Writs Act, 28 U.S.C. § 1651, provides still further authority. The Supreme Court “has repeatedly recognized
  the power of a federal court to issue such commands under the All Writs Act as may be necessary or appropriate to
  effectuate and prevent the frustration of orders it has previously issued in its exercise of jurisdiction otherwise obtained
  . . . .” United States v. New York Tel. Co., 434 U.S. 159, 172 (1977). Accordingly, district courts possess authority to
  craft remedies, where jurisdiction is proper. E.g., United States v. Field, 193 F.2d 92, 96 (2d Cir. 1951) (discussing
  the All Writs Act and noting that “it is fundamental that federal courts . . . have inherent power to do all things that
  are reasonably necessary for the administration of justice, within the scope of their jurisdiction”).


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             B. THIS COURT SHOULD MODIFY ITS ORDER TO DIRECT DHS TO
                PROVIDE INTERIM RELIEF FOR FIRST-TIME APPLICANTS

         This Court’s authority to adjust its prior order is well-established, and it should exercise

  that authority to modify its December 2020 order to direct Defendants to provide interim relief for

  First-Time Applicants. At a minimum, that interim relief should include an opportunity to work,

  as well as forbearance from deportation, and it should be issued on a case-by-case basis to pending

  DACA applicants able to make a prima facie showing of eligibility. Such relief should last only

  until USCIS makes a final decision on the underlying DACA application. Defendants have

  fashioned schemes for interim relief in other immigration programs beset by delays, and nothing

  in the Texas II order prevents DHS from implementing temporary, limited interim relief measures

  for qualifying First-Time Applicants.

         Plaintiff Johana Larios Sainz filed her DACA application on December 9, 2020, and as of

  this filing has waited 16 months for a decision. Supra Section II.B. Because the Texas II order is

  subject to appeal in the Fifth Circuit, and likely thereafter in the Supreme Court, it will be many

  more months, at minimum, before her application is adjudicated. The pending DHS rulemaking

  could lead to further litigation and delay. Supra Section II.D.2. And there are nearly 80,000 other

  pending First-Time Applicants who, like Ms. Larios Sainz, are months or years from an

  adjudication of the application they submitted in reliance on this Court’s prior order. To give full

  effect to this Court’s December 2020 order in light of the changed factual conditions after the

  Texas II order, this Court should order the requested relief, which fits within this Court’s broad

  discretion, comports with the particular necessities of this case, and does not violate Texas II.

                 1. The Texas II Order Changed the Factual Conditions for First-Time
                    Applicants, Warranting Modification

         The impacts of the Texas II order and Defendants’ erroneous interpretation of its interaction

  with this Court’s orders constitute “a significant change in . . . factual conditions” warranting


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  modification of this Court’s December 2020 order. Rufo v. Inmates of Suffolk Cnty. Jail, 502 U.S.

  367, 384 (1992). When this Court issued its order reopening DACA in December 2020, the relief

  contemplated by the Court was to allow First-Time Applicants to apply for and receive grants of

  DACA if eligible. E.g., ECF 354 at 2 (“In light of the vacatur, all parties agree that the DACA

  program is currently governed by its terms as they existed prior to the attempted rescission of

  September 2017.”). Class-members began submitting DACA applications to USCIS, and the

  government accepted, processed, and began adjudicating those applications, as this Court expected

  and intended. Supra Section II.A, C.1. The government’s compliance was slow at first—

  adjudicating only 763 applications in the first three months of 2021—but by early July, USCIS

  was adjudicating new DACA requests for thousands of applicants per month. Supra Section II.C.1.

         The Texas II order in July 2021 enjoined the government from granting DACA to pending

  First-Time Applicants. Texas II, 2021 WL 3022434, at *4. But Defendants went much further than

  required under the Texas II order, interpreting it to also bar them from scheduling and taking

  biometrics (even those class members who submitted applications in reliance on this Court’s order)

  and from taking all other intermediate steps leading up to final adjudication—with the exception

  of cashing class members’ checks. Supra Section II.B. In nearly all cases, the government

  cancelled scheduled biometrics appointments. Id.; see also supra note 3. As a result, first-time

  DACA applications were unnecessarily stalled long before the final adjudication stage.

         This is a “significant change” in “factual conditions” from this Court’s December 2020

  order, which required Defendants to accept first-time DACA requests for consideration—not

  simply take applicants’ filing fees and do nothing else. Rufo, 502 U.S. at 384. The parties now

  have “a better appreciation of the facts in light of experience,” which indicate that this Court’s

  December 2020 order is not properly adapted to accomplishing its purposes and should be




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  modified. King-Seeley Thermos Co., 418 F.2d at 35. Indeed, modification is appropriate here as

  the Court’s order has “prove[n] to be unworkable because of unforeseen obstacles” and because

  not modifying the order “would be detrimental to the public interest . . . .” Rufo, 502 U.S. at 384.

  Defendants’ refusal to process up to the point of adjudication the 80,000 pending applications filed

  by members of the Batalla Vidal class represents a straightforward change in circumstances that

  disturbs the implementation of this Court’s prior order. Supra Section II.E.

                    2. Interim Relief Is Appropriate for First-Time Applicants, and this Court
                       Has the Power to Direct Defendants to Issue Such Relief

           This Court undoubtedly has the authority to order the government to provide interim relief.

  Indeed, this Court has enormous latitude to craft relief that meets the particularized needs of the

  parties to this complex litigation. Supra Section IV.A. Interim relief that provides protection from

  deportation and an opportunity to work, on a case-by-case basis, is a familiar practice for DHS.

  The government has fashioned interim relief for pending applicants stuck waiting long periods for

  adjudication of other immigration applications, in a manner similar to what Plaintiffs request here.

           For instance, a recent USCIS policy provides that individuals with pending Special

  Immigrant Juvenile (SIJ)13 applications can receive protection from deportation and eligibility for

  work authorization on a temporary basis, until a final decision has been made on their underlying

  application. SIJ applicants with approved special immigrant petitions have spent years in limbo

  due to annual employment-based visa limits. Unveiled earlier this year, the new policy, which

  came largely as a result of the class action suit L.F.O.P. v. Mayorkas, No. 4:21-cv-11556, ECF 26

  (D. Mass. Jan. 4, 2022) (challenging USCIS refusal to approve or issue Employment Authorization

  Documents (EADs)), provides deferred action and related employment authorization on a case-


  13
    The SIJ program protects individuals under 21 years of age who have been abused, neglected, or abandoned by one
  or both parents. SIJ recipients may apply for adjustment of status to lawful permanent resident status. See 8 U.S.C. §§
  1101(a)(27)(J), 1153(b)(4), 1255; 8 C.F.R. §§ 245.1(e)(3), 204.11.


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  by-case basis for noncitizens with approved I-360 SIJ petitions who are as yet unable to apply for

  adjustment of status to lawful permanent resident.14 Plaintiffs in L.F.O.P. relied on Defendants’

  use of “other administrative alternatives to provide EAD eligibility to categories of noncitizens

  who are not listed in their EAD regulations, such as permitting the submission of an application

  for status to be held in abeyance pending a formal filing.” Id. at 13 ¶ 44.

          The SIJ interim relief policy was neither specifically authorized by any statute or

  regulation, nor was it promulgated through a new rulemaking. Instead, DHS based these temporary

  protections on its inherent authority to grant deferred action and work authorization through “an

  individualized, case-by-case, discretionary determination.”15 A similar approach could be used to

  provide interim relief for Batalla Vidal class members whose applications remain pending.

          In a second recent example, in June 2021, USCIS began offering interim relief to

  noncitizens with pending, bona fide U nonimmigrant status petitions. The bona fide determination

  process “was created with the goal of conducting initial reviews of U nonimmigrant status petitions

  more efficiently and providing eligible victims of qualifying crimes with employment

  authorization and deferred action while they await a final adjudication of their petition for U

  nonimmigrant status under the annual statutory cap.”16 Recipients receive four-year work

  authorization and deferred action while they wait for full adjudication. Id. When the program was

  implemented, there were about 270,000 individuals with pending U-visa applications.17 Applicants



  14
       Special Immigrant Juvenile Classification and Deferred Action, USCIS (Mar. 7, 2022),
  https://www.uscis.gov/sites/default/files/document/policy-manual-updates/20220307-SIJAndDeferredAction.pdf.
  15
     Special Immigrant Juvenile Petitions, 87 Fed. Reg. 13066, 13095 (Mar. 8, 2022) (discussing why new policy did
  not need to be promulgated through rulemaking).
  16
     U Nonimmigrant Status Bona Fide Determination Process FAQs, USCIS (last updated on Sept. 23, 2021),
  https://www.uscis.gov/records/electronic-reading-room/u-nonimmigrant-status-bona-fide-determination-process-
  faqs.
  17
     Number of Form I 918, Petition for U Nonimmigrant Status - By Fiscal Year, Quarter, and Case Status Fiscal Years
  2009-2021,                                                                                                 USCIS,
  https://www.uscis.gov/sites/default/files/document/reports/I918u_visastatistics_fy2021_qtr2.pdf.


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  had originally been able to get EADs and deferred action once they were added to the U-visa

  waitlist, but even the process for getting on the waitlist could take years. Like class members here,

  U-visa petitioners had little to no protection while their applications were pending until they were

  provided interim relief through the bona fide determination process.

           Plaintiffs request an order directing Defendants to consider the 80,000 pending First-Time

  Applicants for some form of appropriate interim relief, as described further below. The interim

  relief would be temporary, lasting only until a final decision on the underlying DACA application;

  it would be narrow, limited to protection from removal and an opportunity to work; and it would

  be available only to those applicants who make a prima facie showing of eligibility for DACA,

  determined on a case-by-case basis.18

                    3. Interim Relief Does Not Conflict with the Texas II Order

           For two reasons, the interim relief program contemplated here is consistent with the orders

  of both this Court and the Texas II court. First, the interim relief requested here is not DACA. The

  Texas II order “prohibits the government from granting DACA status to First-Time Applicants.”

  Texas II, 2021 WL 3022434, at *4. However, that court remanded consideration of this issue to

  the government and in doing so, took “no position on how DHS . . . should resolve” the various

  considerations as to DACA’s legality. Texas v. United States, 549 F. Supp. 3d 572, 623-24 (S.D.

  Tex. 2021). Under the Napolitano Memorandum and its implementing guidance, DACA recipients

  are protected from deportation, provided work permits, authorized to apply for a Social Security

  Number and driver’s license, and can obtain advance parole to travel abroad for humanitarian,




  18
    The Court could direct Defendants to propose an interim relief remedy in the first instance. See, e.g., Brown v. Plata,
  563 U.S. 493, 510 (2011) (after district court found legal violation, affirming further order that government defendants
  formulate remedial plan and submit it for court approval). It might also order the Defendants to implement a program
  for interim relief, and then refer the parties to judicial mediation to develop jointly the details of the program.


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  educational, and employment purposes, as permitted by statute, see 8 U.S.C. § 1182(d)(5).19

  DACA recipients can renew their status every two years, and the program confers no substantive

  right, immigration status, or pathway to citizenship.20

          Additionally, the forms of interim relief proposed are more limited in substantive offerings

  to protection from removal and an opportunity to work, and are both temporary in nature and non-

  renewable. The interim relief requested does not entail the broader abilities enabled by DACA, as

  listed above. For example, unlike a DACA recipient, an applicant granted interim relief would not

  be eligible to apply for advance parole. And while DACA is awarded in two-year increments, any

  interim protection would conclude once applications meet final resolution—which could be

  triggered by a final rule, an appellate decision on the Texas II order, resumed government

  adjudication, or congressional action. If a court decision permanently ends the DACA program,

  the government could immediately terminate the work authorization for an applicant with interim

  relief, even while allowing work authorization for DACA recipients themselves to continue until

  their individual expiration dates during a wind-down period.

          Thus, interim relief ordered by this Court would be consistent with both this Court’s prior

  order and the Texas II order. Because of the tangible benefits to Plaintiff Johana Larios Sainz and

  the 80,000 similarly situated members of the Batalla Vidal class, this Court should exercise its

  equitable authority and modify its prior order to direct Defendants to issue interim relief on a case-

  by-case basis to eligible First-Time Applicants, including temporary protection from deportation

  and an opportunity to work.




  19
     Exercising Prosecutorial Discretion with Respect to Individuals Who Came to the United States as Children, DHS
  (June 5, 2012), https://www.dhs.gov/xlibrary/assets/s1-exercising-prosecutorial-discretion-individuals-who-came-to-
  us-as-children.pdf.
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     Id. at 3.


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             C. THE COURT SHOULD MODIFY ITS ORDER TO REQUIRE
                PROCESSING OF PENDING FIRST-TIME APPLICATIONS TO THE
                POINT OF ADJUDICATION

         This Court ordered Defendants to “accept” first-time applications, and the Texas II order

  prohibits only the “granting” of DACA. Nevertheless, Defendants ceased processing of requests

  for DACA (Form I-821D) submitted by First-Time Applicants, as well as their attendant requests

  for EADs (Form 1-765). Supra Section II.B. The Texas II order did not require this course of

  action. Given the changed factual circumstances in this case, see supra Section IV.B.1, this Court

  should modify its December 2020 order and require Defendants to resume processing pending

  first-time DACA applications and requests for EADs up until the point of granting DACA.

         As discussed above, USCIS engaged in a roughly four-month ramp-up period of processing

  first-time applications after this Court’s December 2020 order. See supra Section II.C.1. Resuming

  all processing steps up to final adjudication for First-Time Applicants would provide meaningful

  relief because months of processing would already be completed should DACA be opened again

  in the future, whether based on a final rule, new legislation, or an appellate ruling.

         The tangible difference that additional processing can make is evident by comparing the

  application experiences of Plaintiff Larios Sainz and Plaintiff M.B.F. Plaintiff Johana Larios Sainz

  filed her first-time DACA application on December 9, 2020, and had biometrics scheduled for and

  taken on May 27, 2021. Supra Section II.B. Ms. Larios Sainz filed her application within five days

  of this Court’s December 2020 order, but still had to wait nearly six months for the government to

  schedule a biometrics appointment and advance her application. By the time the Texas II order

  was issued in July 2021, USCIS had still not finished processing or adjudicating her application;

  it has now been 16 months since submission. Id. In contrast, Plaintiff M.B.F. had already had her

  biometrics captured and processed as part of a different application for immigration relief when

  she applied for DACA on December 14, 2020, after Ms. Larios Sainz. As a result, she did not have


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  to go through those steps again, and she received an approval for first-time DACA on May 5, 2021,

  before the government even sought to capture Ms. Larios Sainz’s biometrics. Id.

         Accordingly, Plaintiffs request that the Court modify its order to require Defendants to

  accept and process up to, but not including, final adjudication of first-time DACA requests so long

  as the Texas II order remains in effect. This “proposed modification is suitably tailored to the

  changed circumstance.” Rufo, 502 U.S. at 383.

         In the alternative, this Court is also empowered by Rule 60(a) to clarify its December 2020

  order to correct an unintended ambiguity that has led Defendants to completely halt all processing

  of pending applications, including the running of biometrics, which is a required early step in the

  adjudication process, supra Section II.B. This Court should also correct Defendants’ refusal to

  adjudicate applications from Extended Renewal Applicants because they fail to process them as

  renewals, supra Section II.C.2; infra Section IV.D. This Court knows best its own intent in having

  ordered USCIS to “accept” new applications, but its prior order appears to have been premised on

  an expectation that USCIS compliance was not complete upon the moment it accepted a new

  application. See ECF 354 at 4 (requiring Defendants to post notice that it was “accepting first-time

  requests for consideration of deferred action under DACA . . . based on the terms of the DACA

  program prior to September 5, 2017”) (emphasis added); id. at 5 (ordering status report by

  Defendants showing “[t]he number of first-time DACA applications received, adjudicated,

  approved, denied, and rejected” since holding Chad Wolf was not lawfully serving as Acting

  Secretary of Homeland Security) (emphasis added). To the extent that the Court intended DHS




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  also to process applications that it accepted, at least to the point of grant or denial, see Texas II,

  2021 WL 3022434, at *4, then clarification would be appropriate under Rule 60(a).21

               D. THIS COURT SHOULD ORDER DEFENDANTS TO ADJUDICATE
                  EXTENDED RENEWAL APPLICATIONS

          Defendants erroneously treat Extended Renewal Applicants—DACA renewal applicants

  whose previous grants of DACA expired more than a year prior to the renewal request—as First-

  Time Applicants and therefore have taken the position that the Texas II order bars it from

  adjudicating these applications as renewals. Defendants’ problem is of their own making, as they

  have chosen to treat Extended Renewal Applicants as First-Time Applicants with no explanation.

  The Texas II order allows Defendants to grant DACA renewal applicants “regardless of when the

  renewal applications are submitted[.]” Texas II, 2021 WL 3022434, at *2. Further, Extended

  Renewal Applicants have previously held DACA and therefore have the same reliance interests

  on DACA that the Texas II court took into account when staying its own vacatur and injunction

  with respect to DACA renewals. See, e.g., Texas v. United States, 549 F. Supp. 3d 572, 624 (S.D.

  Tex. 2021) (“[T]hese rulings do not resolve the issue of the hundreds of thousands of DACA

  recipients and others who have relied upon this program for almost a decade. That reliance has not

  diminished and may, in fact, have increased over time.”). Plaintiffs therefore request that the Court

  order Defendants to treat Extended Renewal Applicants like the renewal applicants they are and

  adjudicate them to final decision as allowed by the Texas II order.




  21
     Rule 60(a) provides for the correction of mistakes “arising from oversight or omission.” These are not limited to
  “errors arising from transcription or copying.” In re Marc Rich & Co. A.G., 739 F.2d 834, 836 (2d Cir. 1984); id. at
  837 (district courts may clarify an ambiguity, especially one that conforms a prior order to “the contemporaneous
  intent of the court”); see also Panama Processes, S.A. v. Cities Service Co., 789 F.2d 991, 992-93 (2d Cir. 1986)
  (same); Garamendi v. Henin, 683 F.3d 1069, 1079 (9th Cir. 2012) (“Rule 60(a) allows for clarification and
  explanation, consistent with the intent of the original judgment, even in the absence of ambiguity, if necessary for
  enforcement.”); Briscoe v. City of New Haven, 2010 WL 2794231, at *4 (D. Conn. July 12, 2010); Paddington
  Partners v. Bouchard, 34 F.3d 1132, 1140 (2d Cir. 1994).


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     V.      CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

  motion to modify, or in the alternative, to clarify, the Court’s December 2020 Order.



  Respectfully submitted,

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